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9                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
10
11     Andres Gomez,                          Case No: 4:21-cv-07852-YGR
12             Plaintiff,                     Plaintiff’s Response to Motion
13        v.                                  for Reconsideration
14                                            Complaint Filed: October 6, 2021
       Zackery Sperow,
15
               Defendants.                    Honorable    Yvonne     Gonzalez
16                                            Rogers
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1         MEMORANDUM OF POINTS AND AUTHORITIES
2
3                   I.    Procedural History
4          Plaintiff filed his Complaint alleging violations of the ADA on
5    October 6, 2021. Dkt. 1. Defendant then moved to dismiss the Complaint
6    on December 13, 2021, on the grounds that Plaintiff lacked standing
7    because Defendant does not operate a brick-and-mortar facility and
8    Plaintiff “could not possibly qualify for a loan.” Memorandum page 4, Dkt.
9    13-1. In denying Defendant’s motion, the Court concluded that it raised
10   factual questions not appropriate for resolution on the pleadings and
11   refrained from deciding the facts at this early stage of the case. Order, Dkt.
12   18, page 2. Defendant filed a Motion for Reconsideration on March 28,
13   2022, citing to Gomez v. Gates Estates, Inc., Case Number: 3:21-cv-07147-
14   SK. This brief is filed in response to the Court’s March 29 Order directing
15   briefing. Dkt. 21.
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      II. Basis for jurisdiction
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           The Court’s order draws attention to a Declaration Plaintiff submitted
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     in Gomez v. Gates. There, Mr. Gomez also was suing a real estate agency in
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     the Bay Area that lacked accessible elements. That court dismissed Gomez’s
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     claim for failure to state a claim due to Gomez’s statement that he would not
21
     physically visit the business. This was in error.
22
           Not only was this legal error not supported by Robles v. Domino’s Pizza,
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     LLC, 913 F.3d 898 (9th Cir. 2019), it represents a rejection of both the
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     Ninth Circuit position on tester standing and the Department of Justice
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1    position on accessibility of websites, which have been published since that
2    decision. 1
3          Defendant’s suggestion that Mr. Gomez must intend to visit “as a
4    customer” is explicitly rejected by C.R. Educ. & Enf't Ctr. v. Hosp. Properties
5    Tr., (“CREEC”) 867 F.3d 1093 (9th Cir. 2017). CREEC provides that “‘any
6    person who is being subjected to discrimination on the basis of disability’
7    may bring suit.” Id. at 1102. Further, his motivations for patronizing the
8    website have no relevance whatsoever to his standing. Id. at 1101.
9          As for the application of the ADA to websites, the DOJ has stated the
10   importance of “understanding how to ensure that websites are accessible to
11   people with disabilities.” Department of Justice, Justice Department Issues
12   Web Accessibility Guidance Under the Americans with Disabilities Act,
13   https://www.justice.gov/opa/pr/justice-department-issues-web-
14   accessibility-guidance-under-americans-disabilities-act (March 18, 2022).
15   Going further, “[p]eople with disabilities deserve to have an equal
16   opportunity to access the services, goods and programs provided by
17   government and businesses, including when offered or communicated
18   through websites.” Ibid. In the full guidance, the DOJ explains that website
19   compliance is necessary to ensure that communication with people with
20   disabilities is as effective as communication with others. Department of
21   Justice, When the ADA Requires Web Content to be Accessible,
22   https://beta.ada.gov/web-guidance/#when-the-ada-requires-web-
23   content-to-be-accessible (March 22, 2022).
24
25   1
      The Gates decision was not appealed for reasons unrelated to the merits
26   of that court’s particular order. However, it is not binding authority on
27   this court, and this court should not follow the lead of Gates as the
28   decision fails to comport with Ninth Circuit precedent on both standing
     and the breadth of the ADA.
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1           Website barriers are specifically called out, such as poor color
2    contrast, lack of text alternatives on images, inaccessible online forms,
3    mouse-only navigation, and lack of captions on videos. Department of
4    Justice, Examples of Website Accessibility Barriers, https://beta.ada.gov/web-
5    guidance/#examples-of-website-accessibility-barriers. (March 22, 2022).
6    The barriers complained of by Plaintiff in this case are included in this list.
7    Complaint para. 18, Dkt. 1.
8           To the extent any Ninth Circuit precedent can be interpreted as the
9    ADA not applying to websites, DOJ has unequivocally stated this is incorrect
10   and that the ADA “intended for the ADA to keep pace with rapidly changing
11   technology of our times.” Department of Justice, Web Accessibility for People
12   with   Disabilities   is   a   Priority       for   the   Department   of   Justice,
13   https://beta.ada.gov/web-guidance/#web-accessibility-for-people-with-
14   disabilities-is-a-priority-for-the-department-of-justice. (March 22, 2022).
15          The DOJ’s enforcement of the ADA reflects this position. In 2014,
16   the DOJ reached a Settlement Agreement with Peapod, LLC, an online
17   grocery delivery service, to address accessibility claims. Available online at
18   https://www.ada.gov/peapod_sa.htm. In that Agreement, the DOJ stated
19   that “[i]ndividuals who are deaf or hard of hearing cannot understand
20   videos presented on the website because the captioning is inaccurate …
21   Because of such barriers, individuals with disabilities are unable to fully and
22   equally access www.peapod.com for online grocery shopping.” Id. at ¶4.
23   Peapod was identified as the owner/operator of www.peapod.com and “a
24   public accommodation subject to Title III of the ADA.” Id. at ¶7.
25          Likewise, in 2018, the DOJ entered into a settlement agreement with
26   Teachers Test Prep (“TTP”), an entity that provides online and in-person
27   test       preparation         courses.             Available     online         at
28   https://www.ada.gov/ttp_sa.html. In that Agreement, the DOJ noted that

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1    TTP “did not offer its online courses in a manner accessible to individuals
2    with hearing disabilities[.]” Id. at ¶5. As part of the Settlement Agreement,
3    TTP agreed to “ensure all of its online video content has captions.” Id. at
4    ¶9(c) (emphasis added). There was no exception made for videos of courses
5    that were not also offered in-person, or even for videos that were provided
6    solely for informational or marketing purposes.
7          Agency deference is necessary when there is ambiguity in the statute,
8    and the Ninth Circuit in both Weyer v. Twentieth Century Fox Film Corp., 198
9    F.3d 1104, 1114 (9th Cir. 2000) and Robles, supra, recognized the lack of
10   clarity in attempting to fashion a rule. The numerous methods various
11   courts have used to apply the ADA’s provisions to the internet demonstrates
12   the lack of clarity. Given this, and the superseding language of the DOJ,
13   agency deference is mandatory. Kisor v. Wilkie, 139 S.Ct. 2400, 2422
14   (2019) (confirming Auer deference remains); Johnson v. Starbucks
15   Corporation, 17-02454 WHA, 2019 WL 1427435, *3 (March 29, 2019) (J.
16   Alsup) (applying Auer deference to agency interpretation of the ADA).
17          It is therefore not necessary that an individual intend to visit the
18   physical business in order to sue for lack of accessibility of the website. In
19   fact, the seminal case on this issue in the Ninth Circuit, Robles, involved facts
20   not terribly dissimilar to those alleged here. There, the plaintiff had zero
21   intention to visit the physical location of Domino’s, but instead was utilizing
22   the website to obtain benefits without ever intending to physically visit the
23   store. Robles, 913 F.3d 898 at 902. It is a skewering of the “nexus” concept
24   to suggest that a website need only be compliant and offer benefits to
25   patrons who intend to physically visit the business. This effectively makes
26   accessibility an illusion. The internet is a boon for people with disabilities,
27   providing access to goods and services previously unavailable to them.
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1          In the case of Mr. Gomez, the digital version of the terrestrial services
2    offered by Defendant are far superior as they can be read by his digital
3    devices. Why would someone with significantly visual disabilities do with
4    printed paper when he can have a digital version read to him audibly? It is
5    simply immaterial if he has any intention to visit the physical location, all
6    that matters is whether the benefit he wished to avail himself of was offered
7    by a physical place of public accommodation.
8
     III. Conclusion
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           Plaintiff therefore asks that the court deny the Motion for
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     Reconsideration.
11
12   Dated: April 12, 2022                    CENTER FOR DISABILITY ACCESS
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14                                            By     /s/ Elliott Montgomery
15                                            Elliott Montgomery
16                                            Attorney for Plaintiff
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